UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION

UNITED STATES OF AMERICA

VS. CASE NO. 5:22-cr-84-JA-PRL
HENRY TROY WADE

ORDER

This case is before the Court on Defendant’s post-trial motions for
judgment of acquittal (Acquittal Motion) and new trial (New Trial Motion).
(Docs. 235 and 236). Based on the Court’s review of the parties’ submissions,

both motions must be denied.

I. BACKGROUND

Defendant, Henry Troy Wade, was charged by an indictment with six
counts of wire fraud in violation of 18 U.S.C. § 1343. (Indictment, Doc. 1). The
Government alleged in the Indictment that Defendant made false
representations on Economic Injury Disaster Loan (EIDL) applications in order
to obtain loans and grants that he was ineligible for. The applications were
submitted on behalf of five businesses associated with Defendant, and
ultimately the Small Business Administration (SBA) approved four loans and
two grants based on the applications. A jury trial was held from September 16—
24, 2024, (see Docs. 191, 192, 195, 197, 199, 200, 202), and Defendant was found

guilty on all counts, (see Doc. 211).

Following the jury’s verdict, Defendant filed the Acquittal Motion and the
New Trial Motion. In the Acquittal Motion, Defendant requests that the Court
enter a judgment of acquittal pursuant to Rule 29 of the Federal Rules of
Criminal Procedure because of a “lack of proof sufficient to meet the
government's burden.” (Acquittal Motion at 1). Specifically, Defendant argues
that: (1) the Government’s fraud theory is legally deficient; and (2) the
Government did not present sufficient evidence that Defendant made material
misrepresentations to the SBA. Defendant alternatively requests that the
Court grant a new trial pursuant to Rule 33, claiming that the “interest of
justice” requires it because: (1) Secret Service Special Agent Matthew Rosado
gave false testimony to the grand jury; (2) the Government constructively
amended or materially varied from the Indictment; (3) the Government elicited
improper expert testimony from a lay witness; (4) the Court wrongly prevented
Defendant from presenting a defense; (5) the Court wrongly rejected
Defendant’s proposed jury instructions; (6) the Court wrongly administered the
Allen! charge; and (7) the cumulative effect of these alleged errors warrants a
new trial. The Government responded in opposition to the motions, (Docs. 239,

240), to which Defendant filed a reply, (Doc. 244).

1 See Allen v. United States, 164 U.S. 492 (1896).

Il. Legal Standards
A. Motion for Judgment of Acquittal

Federal Rule of Criminal Procedure 29(c)(2) authorizes the Court, “where
appropriate, to enter a judgment of acquittal following a guilty verdict.” United
States v. Estrada-Lopez, 259 F. Supp. 3d 1358, 1362 (M.D. Fla. 2017). “A motion
for judgment of acquittal under Rule 29 ‘is a direct challenge to the sufficiency
of the evidence presented against the defendant.” Id. (quoting United States v.
Arbejeris, 28 F.3d 97, 98 (11th Cir. 1994)). “In considering a motion for the entry
of judgment of acquittal under [Rule 29(c)], a district court should apply the
same standard used in reviewing the sufficiency of the evidence to sustain a
conviction.” Id. (quoting United States v. Ward, 197 F.3d 1076, 1079 (11th Cir.
1999)).

B. Motion for New Trial

Federal Rule of Criminal Procedure 33(a) states that “[ujpon the
defendant’s motion, the court may vacate any judgment and grant a new trial if
the interest of justice so requires.” “When considering a motion for a new trial,
the district court may weigh the evidence and consider the credibility of the
witnesses.” United States v. Brown, 934 F.3d 1278, 1297 (11th Cir. 2019)
(quoting United States v. Albury, 782 F.3d 1285, 1295 (11th Cir. 2015)). “A
motion for a new trial based on the weight of the evidence is ‘not favored’ and is

reserved for ‘really exceptional cases.” Id. (quoting United States v. Martinez,

763 F.2d 1297, 1313 (11th Cir. 1985)). “The court may not reweigh the evidence
and set aside the verdict simply because it feels some other result would be more
reasonable.” Martinez, 763 F.2d at 1312-13 (citing United States v. Simms, 508
F. Supp. 1188, 1202 (W.D. La. 1980)). “[T]o warrant a new trial, the evidence
must preponderate heavily against the verdict, such that it would be a
miscarriage of justice to let the verdict stand.” United States v. Witt, 43 F.4th
1188, 1194 (11th Cir. 2022) (quoting Martinez, 763 F.2d at 1313). Ultimately,
“motions for a new trial are committed to the discretion of the trial court.”
Montgomery v. Noga, 168 F.3d 1282, 1295 (11th Cir. 1999).

iI. DISCUSSION
A. Motion for Judgment of Acquittal
1. The Government’s Fraud Theory

The federal wire fraud statute, 18 U.S.C. § 1343, criminalizes “any scheme
or artifice to defraud, or for obtaining money or property by means of false or
fraudulent pretenses, representations, or promises,” using wires. The wire
fraud statute extends only to “money” or “property”; it does not reach schemers
who merely fail to act in an “honest and faithful” manner. Carpenter v. United
States, 484 U.S. 19, 25 (1987). For a conviction under the wire fraud statute to
be sustained, the Government must have proved that the defendant “(1)
intentionally participate[d] in a scheme or artifice to defraud another of money

or property, and (2) use[d] or ‘cause[d]’ the use of . . . wires for the purpose of

executing the scheme or artifice.” United States v. Bradley, 644 F.3d 1213, 1238
(11th Cir. 2011) (quoting United States v. Ward, 486 F.3d 1212, 1222 (11th Cir.
2007)).

In the Acquittal Motion, Defendant argues that there could be no scheme
to defraud because his actions did not target a “property” interest as required
by § 1343. Specifically, Defendant contends that any misrepresentations on his
EIDL applications implicated only the SBA’s “regulatory preferences governing
eligibility and awarding of loans,” (Acquittal Motion at 5-6), which are not
protected by the wire fraud statute, see Cleveland v. United States, 531 U.S. 12,
19-20 (2000). Defendant argues that “the government introduced no evidence
of any intention to cause economic injury to the SBA, and no evidence that the
intended bargain to which the SBA was induced to enter was financially
harmful to the SBA.” (Acquittal Motion at 4-5). In short, Defendant argues
that the “government needed to prove that Defendant devised a scheme to cause
some pecuniary harm to the SBA, and it failed to do so here.” (Id. at 6).

Defendant relies principally on the Eleventh Circuit’s decision in United
States v. Takhalov to support the proposition that the SBA was not harmed and
merely received what it bargained for. 827 F.3d 1307 (11th Cir. 2016). Takhalov
involved defendants who hired women to pretend to be tourists, identify visiting
businessmen, lure them into defendants’ bars and nightclubs, and dupe them

into purchasing exorbitantly priced beverages. Id. at 1310-11. The defendants

were convicted under the wire fraud statute, U.S.C. § 1343, but the Eleventh
Circuit vacated those convictions. The Takhalov court explained that a “scheme
to defraud[]’... refers only to those schemes in which a defendant lies about
the nature of the bargain itself.” Id. at 1318 (quoting § 1343). “[Section] 1343
forbids only schemes to defraud, not schemes to do other wicked things, e.g.,
schemes to lie, trick, or otherwise deceive.” Jd. at 1310. That a defendant
merely “induce[d] [the victim] to enter into [a] transaction” that he otherwise
would have avoided is therefore “insufficient” to show wire fraud, because a
“scheme to defraud” has not occurred unless the schemer “intend[s] to harm the
person he intends to trick.” Jd. at 1313. The Takhalov court determined that
the businessmen got exactly what they bargained for—a drink with a woman at
a club—and therefore no scheme to defraud occurred. Id. at 1318; see also
United States v. Waters, 937 F.3d 1344, 1354 (11th Cir. 2019) (“In a scheme to
deceive, the victim of the lie hasn’t been harmed because he still received what
he paid for. But in a scheme to defraud, the victim has been harmed because
the misrepresentation affected the nature of the bargain, either because the
perpetrator lied about the value of the thing . . . or because he lied about the
thing itself... .”).

The Eleventh Circuit again addressed this issue in United States v.
Wheeler, 16 F.4th 805 (11th Cir. 2021). In Wheeler, the defendants

misrepresented to investors that a company had profited millions of dollars, was

closely associated with high profile companies and executives, and would soon
be listed on a major stock exchange. Id. The Wheeler court determined that the
misrepresentations involved “essential characteristics of the stock that would
alter the nature of the bargain” and thus “the evidence provided a basis for a
reasonable jury to conclude that [the defendants] schemed to defraud investors”
under the wire fraud act. Id. at 820-21.

Here, the Court finds that obtaining the government’s property—to the
tune of $524,400—was precisely the object of Defendant’s fraudulent scheme.
Defendant has not established that the grant and loan proceeds he received from
the SBA were not traditional property interests. The fact that Defendant’s
scheme had the effect of depriving the SBA of its ability to implement its
regulatory preferences was only incidental to Defendant’s goal of obtaining
money he was not entitled to. This case does not merely implicate a “regulatory
preference,” nor does it concern only an “intangible interest” in fair dealing. See
Cleveland, 531 U.S. at 370. Thus, the Court finds that the Government’s fraud
theory is legally sound in this case. See, e.g., United States v. Vernon, 593 F.
App’x 883, 889 (11th Cir. 2014) (finding that the defendant’s receipt of loan
proceeds implicated a traditional property interest under § 1348).

2. Sufficiency of Wire Fraud Evidence

Defendant also challenges whether the Government presented sufficient

evidence that: (1) misrepresentations were made on the EIDL applications; (2)

the misrepresentations were material; and (3) Defendant was responsible for
making the material misrepresentations.

To establish wire fraud, the Government must show that the defendant:
“(1) participated in a scheme or artifice to defraud; (2) with the intent to defraud;
and (3) used, or caused the use of, interstate wire transmissions for the purpose
of executing the scheme or artifice to defraud.” United States v. Machado, 886
F.3d 1070, 1082-83 (11th Cir. 2018) (quoting United States v. Martin, 803 F.3d
081, 588 (11th Cir. 2015)). “A scheme to defraud requires proof of a material
misrepresentation, or the omission or concealment of a material fact calculated
to deceive another out of money or property.” United States v. Maxwell, 579 F.3d
1282, 1299 (11th Cir. 2009) (citing United States v. Svete, 556 F.3d 1157, 1161,
1169 (11th Cir. 2009), and United States v. Hasson, 333 F.3d 1264, 1270-71
(11th Cir. 2003)). “A misrepresentation is material if it has ‘a natural tendency
to influence, or [is] capable of influencing, the decision maker to whom it is
addressed.” Id. (citing Hasson, 333 F.3d at 1271). And a jury may infer a
defendant’s intent to defraud based on circumstantial evidence, such as whether
a defendant profited from the fraud. See id. at 1301; United States v. Naranjo,
634 F.3d 1198, 1207 (11th Cir. 2011); Bradley, 644 F.3d at 1240. In a motion
for judgment of acquittal, the Court must make “[a]ll credibility choices... in

support of the jury’s verdict.” United States v. Williams, 390 F.3d 1319, 1323

(11th Cir. 2004) (citing United States v. Greer, 850 F.2d 1447, 1450 (11th Cir.
1988)).

a. Evidence of Misrepresentations

First, Defendant challenges the evidence for his conviction on Count I,
which pertains to a grant to Troy Wade Services, LLC that was deposited into
the MidFlorida Credit Union account of Troy Wade LLC.2 Defendant argues
that the “government did not provide any testimony or evidence that either
company lacked employees or was not entitled to an SBA EIDL grant.”
(Acquittal Motion at 14). Defendant also argues that a jury question about
KIDL application qualifications suggests that the evidence in this case was
insufficient. The Government responds that (1) Defendant made two separate
EIDL applications for Troy Wade Services, LLC that differed as to the gross
revenue reported, the cost of goods sold in the prior twelve months, and the
number of employees, (see Doc. 217-1; 217-8); (2) a representative of the Florida
Department of Revenue (FDOR) testified that Troy Wade Services, LLC was not
registered with the FDOR; (3) records from the Florida Department of Business
and Professional Regulation indicate that Troy Wade Services, LLC was not

licensed to perform HVAC services in Florida, (Doc. 217-41); and (4) exhibits

2 There are Florida business records for an entity called Troy Wade LLC. (See
Doc, 214-1 at 2). But the aid application on which Count One is based was filed
on behalf of an entity with a claimed “Business Legal Name” of Troy Wade
Services LLC, not Troy Wade LLC. (See Doc. 215-6 at 1).

introduced from the Internal Revenue Service (IRS) suggested that Troy Wade
Services, LLC had no tax filings for its reported employees, (Doc. 217-30).

The Court finds there is sufficient evidence that misrepresentations were
made on the EIDL applications for Troy Wade Services, LLC. Moreover, the
Court rejects Defendant’s argument that the jury question indicates a lack of
sufficient evidence, and Defendant did not cite any legal authority or explain his
reasoning. See United States v. Markovich, 95 F.4th 1367, 1379 (11th Cir. 2024)
(rejecting a “conclusory argument” because the party advancing it “d[id] not
explain [its] legal basis” or cite “legal authority to support it”).

Second, Defendant argues as to Counts II and ITI that Al Commercial &
Residential Contractors is a legitimate company based in South Carolina and
that the Government failed to prove otherwise. The Government responds that
there were two EIDL applications for this business that contained different
financial information and that exhibits from the IRS showed that no tax filings
were made for the reported employees. (Doc. 217-2; Doc. 217-10; Doc. 217-30).
And the Government showed that the proceeds the business received from the
SBA were then transferred to Defendant’s other business and personal bank
accounts. (Doc. 217-12; 217-18; Doc. 217-17). Thus, the Court finds that the
evidence was sufficient for the jury to find that misrepresentations were made

on the EIDL applications for Al Commercial & Residential Contractors.

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Defendant also challenges his conviction on Count IV of the Indictment,
arguing that TK Farms LLC was a legitimate company that is registered with
the Farm Service Agency and that UCC filings, MidFlorida Credit Union
Account documents, and testimony showed that it qualified for the EIDL
proceeds. The Government again responds that two EIDL applications were
submitted for this business that contained completely different financial
information. (Doc. 217-3; Doc. 217-11). Moreover, the Government presented
evidence that the property consisted only of 3.79 acres and two mobile homes
and did not contain a farm. (Doc. 217-31; Doc. 217-32). There was also trial
testimony that Defendant lived on the property in 2020 but that the only
changes he made to the property were to install a bigger closet and a bathroom
and that no farm ever existed on the property. Additional trial testimony
indicated that cattle were not allowed to be present on the property due to
zoning laws. (/d.). And the thirteen purported employees of TK Farms LLC
were not reported to the FDOR or the IRS. (Id.; Doc. 217-29; Doc. 217-30). Thus,
the Court finds that adequate evidence of misrepresentations was presented at
trial.

Next, Defendant challenges the evidence for his conviction as to Count V,
which relates to Little Lights Early Childhood Development LLC. Defendant
posits that this business was a school and that IRS returns, UCC filings, bank

documents, and trial testimony proved its existence. The Government responds

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that there were two EIDL applications submitted for this business with
disparate business information. (Doc. 217-4; Doc. 217-9). For example, the
approved application listed the business as “Entertainment Services,” while the
unapproved application listed the business as “Educational Services.” (See id.).
Following the Indictment, Defendant filed a tax return in which this business
was designated as a daycare facility, (Doc. 217-29 at 14), but trial testimony
from a representative of the Florida Department of Children and Families
indicated that this business was not licensed as a daycare facility. Moreover,
property appraisal records were introduced indicating that the business’s
Marion County, Florida address did not exist. (Doc. 217-4: Doc. 217-9; Doc. 217-
34). And the business’s nine purported employees were not reported to the
FDOR or the IRS. (Doc. 217-29; Doc. 217-30). Finally, after the SBA disbursed
the loan to Little Lights on August 4, 2020, the proceeds were transferred to
three of Defendant’s personal and other business accounts. (Doc. 217-12; Doce.
217-14; Doc. 217-15; Doc. 217-17; Doc. 217-18). Thus, the Court finds that the
evidence is sufficient to support the existence of misrepresentations regarding
the Little Lights Early Childhood Development LLC EIDL application.

Finally, Defendant challenges the sufficiency of the evidence for Count VI,
which pertains to the loan awarded to Big Valley Grille & Bistro LLC. Three
EIDL applications were submitted for this business, only two of which contained

the same financial information. (See Doc. 217-5; Doc. 217-6; Doce. 217-7). During

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trial, the longtime owner of the property located at the business address testified
that no restaurant had ever been run on the property. (See Doc. 217-33).
Moreover, a Marion County zoning department witness testified that it would
have been illegal to run a restaurant on this property. FDOR and IRS exhibits
also indicated that the business never registered its purported thirteen
employees. (Doc. 217-5; Doc. 217-29; Doc. 217-30). And the SBA corresponded
with Defendant after the application was submitted, and Defendant provided
additional false documentation. (Doc. 217-5 at 98-100). The Court finds that
the evidence is sufficient to show misrepresentations were made on these EIDL
applications.

b. Materiality of the Misrepresentations

Defendant posits that the Government failed to show that the
misrepresentations were material. Defendant recounts that each of the
applications at issue had six initial eligibility questions and three initial
disqualifying questions, and he argues that none of these rendered Defendant’s
companies ineligible for the requested EIDL relief. Defendant states that none
of these “core questions” addressed when the businesses were in operation or
what the business addresses were and that these “core questions” were all that
were material on the EIDL applications. (Acquittal Motion at 12). Defendant
argues that this Court “cannot determine whether the jury reached a

unanimous verdict as to which misrepresentations the government proved

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beyond a reasonable doubt; nor can it determine whether those
misrepresentations were indeed material.” (Acquittal Motion at 12-13). The
Government responds that the misrepresentations made in the EIDL
applications as to each businesses’ financial information were material as to
whether a grant or loan was issued. At trial, the Government’s SBA witness
testified that the SBA relied on the financial information reported on the EIDL
applications when deciding whether to issue a grant or loan and in what
amount.

The Court finds there is sufficient evidence that the misrepresentations
made to the SBA were material. As stated previously, “[a] misrepresentation
is material if it has ‘a natural tendency to influence, or [is] capable of
influencing, the decision maker to whom it is addressed.” Maxwell, 579 F.3d
1282, 1299 (11th Cir. 2009) (citing Hasson, 333 F.3d at 1271). The Eleventh
Circuit has clarified that “[b]ecause the issue is whether a statement has a
tendency to influence or is capable of influencing a decision, and not whether
the statement exerted actual influence, a false statement can be material even
if the decision maker did not actually rely on the statement.” United States v.
Neder, 197 F.3d 1122, 1128 (11th Cir. 1999) (citing United States v. Gregg, 179
F.3d 1312, 1315 (11th Cir. 1999)). Defendant’s argument that the “core
questions’ on the application were all that was material is unavailing—there is

sufficient evidence that the fraudulent information on the EIDL applications

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was capable of influencing whether the SBA approved the grant or loan for the

businesses. This is sufficient evidence of the materiality of the
misrepresentations.
Cc. Defendant’s Involvement in the Scheme

Defendant next asserts that the Government failed to demonstrate that
Defendant personally submitted the EIDL applications. (See Acquittal Motion
at 8). During trial, Defendant argued to the jury that eight other individuals
may have had access to Defendant’s personal and financial information and
could have submitted the EIDL applications without Defendant’s knowledge.
Defendant further argues that because all the applications were submitted
online, no evidence exists demonstrating that Defendant personally submitted
these applications.

The Government responds that, of the eleven applications at issue in this
case, eight of them were submitted from Defendant’s home. (Doc. 240 at 13).
Each application contained Defendant’s personal information, including his
phone number and social security number, and all the loan proceeds went into
bank accounts that Defendant had opened and controlled. Defendant was the
sole signatory on all these bank accounts except for the Little Lights Early
Childhood Development LLC bank account, but even the proceeds disbursed to
the Little Lights account were then transferred to Defendant’s other accounts.

The evidence also suggested Defendant used these SBA proceeds to purchase

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items from Amazon.com and pay his rent. (See Doc. 217-19). And Defendant
filed a 2019 tax return after he was indicted in 2022 in an attempt to legitimize
these businesses. (Doc. 217-29). The Government argues this is evidence
Defendant committed the fraud because a fraudster using Defendant’s identity
would have wanted Defendant to be blamed for it and would not have acted to
cover it up.
In a motion for acquittal, the Court must make “[aJll credibility choices
. .1n support of the jury’s verdict.” Williams, 390 F.3d at 1323. The Court
finds that the evidence is sufficient for the jury to have found that Defendant
submitted the EIDL applications at issue. A judgment of acquittal is not
warranted because “a reasonable trier of fact could find that the evidence
establishes guilt beyond a reasonable doubt.” Jd. at 1324.3 Accordingly, the

Acquittal Motion must be denied as to all counts.

B. Motion for New Trial

Next, the Court turns to Defendant’s Motion for a New Trial under
Federal Rule of Criminal Procedure 33. Defendant makes several arguments

for a new trial that will be addressed in turn.

3 Defendant also moves for acquittal on the grounds that the Government
“Improperly argued a joint culpability theory in closing.” (Acquittal Motion at
10). This matter will be taken up in the discussion of Defendant’s New Trial
Motion, infra part B.

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1. Agent Rosado’s Grand Jury Testimony

First, Defendant argues the Court must grant a new trial based on
misrepresentations that Secret Service Special Agent Matthew Rosado made to
the grand jury. The Court has addressed Defendant’s arguments in the Order
denying Defendant's Renewed Motion to Dismiss Indictment Based on
Misrepresentations to the Grand Jury. (Doc. 238). Defendant has not provided
anything new that the Court did not already address in that Order. Thus, the
Court finds that Defendant did not carry his burden of showing that this issue
makes this case “really exceptional” warranting the grant of a new trial. Brown,
934 F.3d at 1297.

2. Constructive Amendment or Variance From the Indictment

Defendant argues that the Government constructively amended or varied
from the Indictment when the Government stated during closing argument that
“[e]ven if you do not think that [Defendant] did this all by himself, you can still
find him guilty if he participated in it.” (Doc. 230 at 76, 78). Defendant argues
that the Government’s reference to “participation” constructively amended or
varied from the Indictment because Defendant interprets the Indictment as
alleging that “Mr. Wade—and only Mr. Wade—committed the asserted fraud.”
(New Trial Motion at 7 (emphasis in original)). Defense counsel lodged a

contemporaneous objection to the Government’s statement, which the Court

overruled. (Doc. 230 at 76).

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The Court provided the jury with the following Eleventh Circuit pattern
instruction listing the elements of the offense of wire fraud:
(1) the Defendant knowingly devised or participated
in a scheme to defraud someone by using false or

fraudulent pretenses, representations, or promises;

(2) the false pretenses, representations, or promises
were about a material fact;

(3) the Defendant acted with the intent to defraud; and

(4) the Defendant transmitted or caused to be

transmitted by wire some communication in interstate

commerce to help carry out the scheme to defraud.
Eleventh Circuit Pattern Jury Instructions, 051 (revised April 2024); (Doc. 207
at 11) (emphasis added). Before trial, Defendant proposed that the Court use
this instruction. (See Doc. 153 at 18-20). Despite the reference to
“participation” in this instruction, Defendant argues that a constructive
amendment or variance from the Indictment occurred because the Government
stated in closing argument that the jury could convict Defendant if it found that
he “participated” in the scheme to defraud.

Two related but distinct issues can arise upon a deviation from an

indictment. First, a “constructive amendment” occurs when the “essential
elements of the offense contained in the indictment are altered to broaden the

possible bases for conviction beyond what is contained in the indictment.”

United States v. Keller, 916 F.2d 628, 634 (11th Cir. 1990). Second, a “variance”

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occurs “when the evidence at trial establishes facts materially different from
those alleged in the indictment.” United States v. Lander, 668 F.3d 1289, 1295
(11th Cir. 2012) (quoting United States v. Caporale, 806 F.2d 1487, 1499 (11th
Cir. 1986)). “The distinction between an amendment and a variance is
important in that an amendment is per se reversible error, while a variance
requires the defendant to show that his rights were substantially prejudiced by
the variance in order to be entitled to a reversal.” Keller, 916 F.2d at 633 (citing
United States v. Figueroa, 666 F.2d 1375, 1379 (11th Cir. 1982)); see also United
States v. Cancelliere, 69 F.3d 1116, 1121 (11th Cir. 1995).

First, Defendant argues that the Government’s reference to
“participation” amended the Indictment by broadening the possible bases for
conviction. See id. at 634. The Eleventh Circuit has explained that “[c]onviction
under the wire fraud statute requires that the defendant (1) intentionally
participated in a scheme or artifice to defraud another person of money or
property and (2) used or caused the use of interstate wires to execute the scheme
or artifice.” United States v. Edwards, 526 F.3d 747, 760 (11th Cir. 2008) (citing
Ward, 486 F.3d at 1222); see also Bradley, 644 F.3d at 1238. “Evidence that a
defendant personally profited from a fraud may provide circumstantial evidence
of an intent to participate in that fraud.” Bradley, 644 F.3d at 1239 (quoting

United States v. Naranjo, 634 F.3d 1198, 1207 (11th Cir. 2011)). Prevailing

Eleventh Circuit caselaw and the pattern jury instructions provide that

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participation in a scheme to defraud is what the law requires to sustain a
conviction under the wire fraud statute. Defendant’s arguments to the contrary
are rejected. See also United States v. Cin Mun Tuang, 773 F. App’x. 593, 594
(11th Cir. 2019) (“The government’s closing argument did not constructively
amend the indictment because it merely repeated the jury instructions’ correct
statement of the law.”).

Next, Defendant calls for a new trial because the jury was never
instructed on aiding and abetting. See United States v. Martin, 747 F.2d at
1404, 1407 (11th Cir. 1984). Defendant cites United States v. Dillard to support
the proposition that a judgment of acquittal is warranted where the jury was
not instructed as to aiding and abetting. No. CR 2:21-00029-K-B, 2021 WL
5985002, at *4 (S.D. Ala. Dec. 16, 2021). In Dillard, the court found that
acquittal was warranted on a witness intimidation charge because the jury was
not instructed on aiding and abetting and “there was no evidence that [the
defendant] personally acted to intimidate the witness.” Id. Here, the jury found
that there was sufficient evidence to convict Defendant for wire fraud based on
the standard set forth in the Eleventh Circuit pattern instructions. Defendant
has not shown that separate evidence and instructions for aiding and abetting

were necessary in this case. See also United States v. Tucker, 402 F. App’x. 499,

502 (11th Cir. 2010).

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Defendant argues at length that the Eleventh Circuit pattern jury
instructions impermissibly deviate from the plain text of the wire fraud statute
by allowing convictions based on a defendant’s participation in a scheme to
defraud. (See New Trial Motion at 12-15). However, if the Eleventh Circuit’s
pattern instruction misstates the law, it is a mistake of Defendant’s own making
because Defendant proposed the Eleventh Circuit pattern instruction. See
United States v. Maradiaga, 987 F.3d 1315, 1322 (11th Cir. 2021) (refusing to
review a defendant’s challenge to jury instructions where the defendant
“propos[ed] the exact language that the district court adopted” and therefore
“invited any purported error”). For the reasons set out above, the Court finds
that this instruction did not amend or vary the Indictment.

Defendant also cites Keller for the proposition that it is erroneous to
instruct a jury that it may convict a defendant for participating in the scheme
of any unnamed person. 916 F.2d at 632. However, the portion of Keller cited
by Defendant has no bearing on the facts before this Court because in Keller,
the defendant was indicted for conspiring with a person specifically identified
by name. Keller is distinguishable because in this case Defendant was not
indicted for conspiracy and no other individuals were listed by name. The
Government’s statement during closing argument was an accurate statement of
the law and the jury was properly instructed on the essential elements of wire

fraud.

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3. Improper Expert Testimony

Defendant next claims that a new trial is warranted because the Court
allowed the Government’s SBA witness, Fazile Kepadia, to “improperly conflate
lay and expert witness testimony.” (New Trial Motion at 16). Defendant argues
the Government elicited improper testimony from Ms. Kepadia when it asked
her if the SBA notes in the EIDL applications indicated whether the SBA
suspected identity theft. (New Trial Motion at 16-17). Defendant claims this
was an improper inquiry because the Government’s questioning went beyond
Ms. Kepadia’s personal observations and instead called for Ms. Kepadia to opine
as to whether identity theft occurred. Defendant claims this error was
prejudicial because identity theft was central to Defendant’s defense.

“The district court must ensure that expert testimony under Rule 702 does
not come in under the guise of lay opinion testimony under Rule 701.” United
States v. Graham, No. 19-10332, 2024 WL 4929254, at *25 (11th Cir. Dec. 2,
2024) (citing United States v. Hawkins, 934 F.3d 1251, 1265-66 (11th Cir. 2019).
Indeed, “it is error to admit opinion testimony of lay witnesses based upon
specialized knowledge.” United States v. Dulcio, 441 F.3d 1269, 1275 (11th Cir.
2006). A lay witness’s presentation “as a dual fact-expert witness without
further demarcation or explanation to the jury” constitutes error. Hawkins, 934
F.3d at 1266 (quoting United States v. Rios, 830 F.3d 403, 416 (6th Cir. 2016)).

Such testimony “may come dangerously close to invading the province of the

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jury.” United States v. Emmanuel, 565 F.3d 1324, 1335-36 (11th Cir. 2009)
(citing United States v. Dukagjini, 326 F.3d 45, 53 (2d Cir. 2008)).

During trial, Ms. Kepadia testified that the SBA agents who review EIDL
applications are trained to make annotations if they suspect identity theft. Ms.
Kepadia reviewed the pertinent SBA records in this case and testified that the
SBA records at issue did not contain any SBA annotations regarding suspected
identity theft. The Government’s inquiry solicited factual testimony from Ms.
Kepadia and did not call for or result in Ms. Kepadia improperly interpreting
the evidence. Given her experience with the SBA and her review of all the
records in this case, the Court finds that it was not error to allow Ms. Kepadia
to render this testimony. See, e.g., Graham, 2024 WL 4929254, at *25.

4. Preventing a Defense

Defendant claims the Court erred by prohibiting defense counsel from
inquiring of expert witness Tom Simon as to caregiver fraud and identity theft.
Mr. Simon, a former special agent with the Federal Bureau of Investigation,
testified about the ways in which Defendant may have been vulnerable to
identity fraud and caregiver fraud. Defendant’s motion makes only a vague
allegation that defense counsel was not permitted to ask Mr. Simon certain
questions without explaining what those questions were, whether the proposed
questions would have resulted in legally admissible evidence, or how this

affected Defendant’s presentation of his defense.

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It is axiomatic that “the Constitution guarantees criminal defendants ‘a
meaningful opportunity to present a complete defense,” Nevada v. Jackson, 569
U.S. 505, 509 (2013) (quoting Crane v. Kentucky, 476 U.S. 683, 690 (1986)). But
this principle is cabined by the “broad latitude” courts possess to “exclud[e]
evidence from criminal trials.” Id. (quoting Holmes v. South Carolina, 547 US.
319, 324 (2006)). Here, the Court is unconvinced that a new trial is in the
interest of justice on this basis.

Defendant also claims that the Court wrongly prevented defense counsel
from introducing evidence regarding the locations of Defendant’s businesses.
Defendant notes that Government witness Ken Weyrauch of Marion County
Growth Services offered testimony that could have led the jury to believe that
Defendant provided incorrect addresses for his businesses on the EIDL
applications. Defendant claims that defense counsel attempted to introduce
additional records from the Marion County Property Appraiser’s Office that the
Court wrongly precluded. Defendant has not specified what these records were
or explained how they were admissible into evidence. Nor has Defendant
demonstrated that he was prevented from effectively presenting his defense
based on their exclusion. Thus, the Court finds that a new trial is not warranted
on this ground.

5. Jury Instructions

Defendant requested the following “theory of defense” jury instruction:

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[Defendant], through his counsel, has introduced

evidence to support his theory of the case. [Defendant]’s

theory of the case is that someone other than

[Defendant] submitted the EIDL loan applications to

the SBA for his businesses without [Defendant]’s

approval or consent.

[Defendant] has no burden to prove his theory of the

case. The government always has the burden of proving

[Defendant]’s guilt beyond a reasonable doubt. If there

is a reasonable doubt as to the identification of the

defendant as the person who submitted the EIDL loan

applications, then you must acquit.
(Doc. 153 at 22). Defendant claims that the record evidence supports this
instruction and that it is “particularly warranted in light of the government’s
improper closing argument.” (New Trial Motion at 21).

“A district court has broad discretion in choosing the language
of jury instructions.” United States v. Davis, 779 F.3d 1305, 1311 (11th Cir.
2015) (citing Goldsmith v. Bagby Elevator Co., 513 F.3d 1261, 1276 (11th Cir.
2008)). However, “[a] trial court may not refuse to charge the jury on a specific
defense theory when the proposed instruction presents a valid defense and
where there has been some evidence adduced at trial relevant to that defense.”
United States v. Ruiz, 59 F.3d 1151, 1154 (11th Cir. 1995) (citing United States
v. Middleton, 690 F.2d 820, 826 (11th Cir. 1982)). “The refusal to give a
requested jury instruction is an abuse of discretion if the instruction ‘is a

substantially correct statement of the law’: ‘was not covered by the charge

actually given’; and ‘dealt with some point in the trial so important that failure

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to give the instruction seriously impaired the defendant’s ability to present an
effective defense.” United States v. Macrina, 109 F.4th 1341, 1351 (11th Cir.
2024) (quoting United States v. Focia, 869 F.3d 1269, 1282 (11th Cir. 2017)).

The Court finds that the substance of Defendant’s proposed instruction
was adequately covered by the Court’s instructions on the Government’s burden
of proof regarding the offense of wire fraud. (Doc. 207 at 3, 11-18). Moreover,
Defendant’s proposed instruction is “essentially a summary of his defense
theory and would have required the district court to advocate on his behalf.”
United States v. Roland, 737 F. App’x 484, 505 (11th Cir. 2018); see also United
States v. Barham, 595 F.2d 231, 244-45 (5th Cir. 1979)4 (affirming district
court’s failure to give “theory of defense” jury instruction when “the requested
instruction was more in the nature of a jury argument than a charge” and “[iJt
was for defense counsel to make, not the Judge”). Thus, the Court’s refusal to
give this proposed instruction does not warrant a new trial.

Defendant also alleges that this Court mishandled a jury question and
should have provided a “Takhalov-specific” jury instruction in response. (New
Trial Motion at 22). During deliberations, the jury sent a note asking, “What

are the legal requirements to get approved for a grant? Or is there an income

* Decisions of the Fifth Circuit prior to October 1, 1981, are binding on the
courts of the Eleventh Circuit. See Bonner v. City of Prichard, 661 F.2d 1206,
1209 (11th Cir. 1981).

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requirement.” (Doc. 209) (emphasis in original). Because this jury question
pertained to the evidence presented at trial, the Court instructed the jury that
it must rely on its own recollection. See United States v. Delgado, 56 F.3d 1357,
1370 (11th Cir. 1995). Defendant’s contention that the jury question “indicated
a fundamental misunderstanding of the essential elements of fraud” is
speculative and unsupported by the record in this case. (New Trial Motion at
22). The “Takhalov-specific instruction” that Defendant now argues was
necessary would have been properly rejected as “improper partisan argument.”
Roland, 737 F. App’x at 502.

6. Allen Charge

During deliberations, the jury informed the Court that “[w]e cannot agree
on one of the counts. What is our next step?” (Doc. 231 at 10). The Court
suggested to counsel that the Court read the Allen charge to the jury, to which
defense counsel objected. (Id.); see Allen v. United States, 164 U.S. 492 (1896).
The Allen charge “instructs a deadlocked jury to undertake further efforts to
reach a verdict.” United States v. Chighbo, 38 F.3d 543, 544 n. 1 (11th Cir. 1994)
(citing Allen, 164 U.S. 492). Allen charges are permissible in the Eleventh
Circuit. See id.; United States v. Rey, 811 F.2d 1453, 1460 (11th Cir. 1987). But
when giving the Allen charge, the district court must not “coerce any juror to
give up an honest belief.” Rubinstein v. Yehuda, 38 F.4th 982, 996 (11th Cir.

2022) (quoting United States v. Anderson, 1 F.4th 1244, 1269 (11th Cir. 2021)).

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Defendant requested the Court to inquire as to whether the jury had
reached a verdict on the other counts, the Court obliged, and the jury confirmed
that they could not agree on one of the counts. (Doc. 231 at 14-15). After
consulting with defense counsel at length as to the next steps the Court should
take, the Court read an instruction to the jury that defense counsel assisted in
preparing. Ud. at 17-18). That instruction was as follows:

['m going to ask that you continue your
deliberations in an effort to agree on a verdict and
dispose of this case. And I have a few additional
comments I'll make for you to consider as you do so.
This is an important case. The trial has been expensive
in time, effort, money, and emotional strain on both the
defense and the prosecution. If a substantial majority
of you are in favor of a conviction, those of you who
disagree should reconsider whether your doubt is a
reasonable one since it appears to make no effective
impression upon the minds of the others. On the other
hand, if a majority or even a small number of you are in
favor of an acquittal, the rest of you should ask
yourselves again, and most thoughtfully, whether you
should accept the weight and sufficiency of the evidence
that fails to convince your fellow jurors beyond a
reasonable doubt. Remember at all times that no juror
is expected to give up an honest belief about the weight
and effect of the evidence. But after fully considering
the evidence in the case, you must agree on a verdict, if
you can. You must also remember that if the evidence
fails to establish guilt beyond a reasonable doubt, the
defendant must have the unanimous verdict of not
guilty. You should not be hurried in your deliberations,
and you should take all the time you feel is necessary. I
now ask that you retire once again and continue your
deliberations with these additional comments in mind.
Apply them in conjunction with all the other
instructions I’ve previously given you.

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(d.). The Court finds that this charge was neither unduly coercive nor
otherwise improper and, as noted, defense counsel contributed to its wording.

7. Cumulative Effect of Errors

Having found that Defendant failed to establish the existence of any
errors during these proceedings, the Court rejects the argument that the
cumulative effect of any alleged errors in this case warrants a new trial. “If
there are no errors or a single error, there can be no cumulative error.” United
States v. Waldon, 363 F.3d 1103, 1110 (11th Cir. 2004) (quoting United States v.
Allen, 269 F.3d 842, 847 (7th Cir. 2001)).

IV. CONCLUSION
For the reasons explained above, it is ORDERED and ADJUDGED as

follows:
1. Defendant’s Motion for Judgment of Acquittal (Doc. 235) is
DENIED.

2. Defendant’s Motion for a New Trial (Doc. 236) is DENIED.

DONE and ORDERED in Orlando, Florida, on January _/ YG , 2025.
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JOHN XNTOON II
United States District Judge

Copies furnished to:
United States Marshal
United States Attorney

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United States Probation Office
United States Pretrial Services Office

Counsel for Defendant
Henry Troy Wade

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